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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742



                                                            February 25, 2019

      LETTER TO COUNSEL

             Re:      United States of America v. Keyon Paylor
                      Criminal No.: ELH-14-271
                      Related Civil No.: ELH-18-0745

      Dear Counsel:

            I have scheduled a hearing on Mr. Paylor’s § 2255 Petition, to begin at 11:00 a.m. on
      March 7, 2019.

              It is my understanding that Mr. Paylor requests an evidentiary hearing if the Court is not
      inclined to vacate his conviction based on the pleadings. At this juncture, oral argument would
      be helpful to the Court in resolving the Petition. By Monday, March 4, 2019, I ask counsel for
      Mr. Paylor to advise the Court of the proposed evidence that Mr. Paylor seeks to present, so that
      I may make a determination as to whether such evidence would also be helpful to the Court.

             Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
      as such.

                                                                   Sincerely,

                                                                      /s/
                                                                   Ellen Lipton Hollander
                                                                   United States District Judge
